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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

 RACHEL RAAK LAW, MICAH                             )
 BROEKEMEIER, and CHARLES HURLEY,                   )   Case No. 4:22-cv-00176-SMR-SBJ
 individuals,                                       )
                                                    )
      Plaintiffs,                                   )       UNOPPOSED MOTION OF
                                                    )     ATTORNEY WENCONG FA TO
      v.                                            )            WITHDRAW
                                                    )
 ROBERT GAST, in his official capacity as           )
 State Court Administrator for the Iowa             )
 Judicial Branch,                                   )
                                                    )
      Defendant.                                    )
                                                    )


       Plaintiffs’ attorney Wencong Fa moves this Court for permission to withdraw as attorney

for Plaintiffs. Mr. Fa is leaving Pacific Legal Foundation effective June 1, 2023. The Plaintiffs

will continue to be represented by the attorneys below.

       Counsel for the parties have conferred and the motion is unopposed.

       The following information is provided pursuant to LR 83(d)(6): A trial date has been set.

There are no motions pending before this Court.

DATED: May 30, 2023.




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Respectfully submitted,

                                            s/ Wencong Fa
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2023, I submitted the foregoing to the Clerk of the Court

via the District Court’s CM/ECF system, which will provide notice of the submission of this

document to all counsel of record.


                                                     s/ Wencong Fa
                                                    WENCONG FA*
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                                                    Attorney for Plaintiffs
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